                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________

JUSTIN BLAKE,

                    Plaintiff,
                                                      Case No. 22-cv-970
      v.

DAVID BETH, et al.,

                    Defendants.

______________________________________________________________________

             STIPULATED REQUEST TO AMEND SCHEDULING ORDER


      The parties submit this stipulated request to amend the current Scheduling

Order (DKT #19) to the following:

      The plaintiff shall disclose expert witnesses by March 1, 2024.

      The defendants shall disclose expert witnesses May 31, 2024.

      The parties shall complete discovery by August 2, 2024

      All dispositive motions shall be due by August 2, 2024.


      Dated in Milwaukee, Wisconsin this 26th day of September 2023.


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          Counsel of Record (via ECF)
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